
Kinsey C. J.
I am not prepared to say that an attachment will not iieibr breach of covenant. My own opinion is that it would, and I believe that with us the practice has always been to issue attachments whether the damages were liquidated or not, and 1 should be loth to lay down a principle which would over*200turn a long established practice. The affidavit pointed out by the act of Assembly requires nothing further, than that the plaintiff should state that the defendant owes him more than is cognizable before a justice, (a) and I think a man may be said to owe in many cases before damages are liquidated. Hardy as the oath in the present case may justly be stiled, I am not inclined to set the attachment aside for this reason. Nor indeed am I for the second as it is admitted that Simms was once an inhabitant.
But we are all of opinion that the filing of bail put an end to the attachment. The object of the law was to compel an appearance to answer the demand, that end being accomplished# all the subsequent proceedings are void.
Attachment Quashed;

 Allinson 174. s, 4...

